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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                      MDL No. 2380
IN RE: SHOP-VAC MARKETING
AND SALES PRACTICES                   Civil Action No. 4:12-md-02380-YK
LITIGATION
                                      (Chief Judge Yvette Kane)

THIS DOCUMENT RELATES TO:
All Cases



     PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
        FINAL APPROVAL OF CLASS SETTLEMENT AND
    PLAINTIFFS’ APPLICATION FOR ATTORNEYS’ FEES AND
 EXPENSES, AND SERVICE AWARDS TO CLASS REPRESENTATIVES




Dated: July 25, 2016


                                        DILWORTH PAXSON LLP
                                        James J. Rodgers
                                        Penn National Insurance Plaza
                                        2 North 2nd Street, Suite 1101
                                        Harrisburg, Pennsylvania 17101
                                        Telephone: (717) 236-4812
                                        Facsimile: (717) 236-7811
                                        Email: jrodgers@dilworthlaw.com

                                        Interim Liaison Counsel
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I.    INTRODUCTION
      On May 26, 2016, this Court granted preliminary approval to the proposed

class action Settlement in this litigation. See ECF No. 164, Memorandum and ECF

No. 165, Order. The Parties then disseminated notice to offer the members of the

Settlement Class the opportunity to object or opt out of the settlement. Now,

Plaintiffs ask the Court to grant final approval of the proposed settlement.

      The response to the Settlement to date has been favorable. Although the

Court-ordered deadline to request exclusion from the Settlement Class or to file

objections to the Settlement is August 15, 2016, only 56 individuals have sought

exclusion and 1 objection has been filed as of July 22, 2016.

      This litigation has a long history.     Nationwide class actions were filed

against Defendants in six federal district courts, and one parallel state action was

filed against Defendant Shop-Vac in New Jersey. After vigorous litigation in this

Court and the New Jersey Superior Court, and through contentious negotiations,

the Parties crafted a settlement under which Shop-Vac will extend the

manufacturer’s warranty on the motors of the vacuums at issue in this case (the

“Vacuums”) by at least twenty-four months to ensure that Settlement Class

Members are protected against any potential premature motor failure—what

Plaintiffs believe is the most significant usage ramification of an underpowered

vacuum.    Moreover, Shop-Vac has agreed to alter the manner in which the


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Vacuums’ power and tank size ratings are marketed and labeled, completely

eliminating the misrepresentations alleged in the case. Given the substantial risks,

costs and complexity of continuing this litigation, the Settlement provides

substantial benefits to the class as a whole and should be granted final approval.

      Plaintiffs also request the Court approve an award of attorneys’ fees, costs

and service awards in the sum of $4,250,000, to be separately paid by Defendants

over and above the benefits to the Settlement Class, and which Defendants have

agreed not to oppose. Plaintiffs’ counsel and Defendants negotiated the fees and

expenses under the auspices of the Honorable Edward A. Infante (Ret.) only long

after reaching agreement on the principal terms of the Settlement. Plaintiffs’

counsel has litigated this matter on a contingent basis and have funded all of the

litigation expenses, without payment or reimbursement since 2012. The total

amount sought, inclusive of costs and service awards to named Plaintiffs, is no

more than 2.4% of the value of the Settlement. The fee request, exclusive of costs

and service awards, reflects a discount of approximately 0.75 on Plaintiffs’

counsel’s combined lodestar of $5,091,251.25. As demonstrated below, the record

in this case and applicable standards in the Third Circuit fully support the fee

request.




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II.   BACKGROUND

      A.     Summary of the Litigation
      A detailed description of the procedural and factual history of the litigation,

the efforts of Plaintiffs’ counsel, and the terms of the Settlement appears in the

accompanying Declaration of Robert I. Lax in Support of the Motion for Final

Approval of the Proposed Settlement and Application for an Award of Attorneys’

Fees and Reimbursement of Expenses (“Lax Decl.”). In the interest of brevity,

Plaintiffs incorporate that declaration by reference.

      Plaintiffs’ Counsel were not aided by government investigations or media

exposes, but brought this matter to light by their own efforts. Lax Decl. ¶ 4.

Before Plaintiffs filed their actions, Plaintiffs’ experts conducted tests to determine

the peak horsepower of the Vacuums in actual operation, using independent testing

methods. Id. Plaintiffs’ experts concluded that the Vacuums’ power ratings were

based upon a testing regimen that was not supported by generally accepted

principles of engineering, led to overstatements of their Peak Horsepower, which

in turn could lead to shorter than expected motor life. Id. Plaintiffs’ experts also

concluded that an automatic shutoff feature causes the Vacuums to stop working

before the tanks reached their stated capacity. Id.




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      The Parties conducted extensive discovery, beginning with multiple rounds

of paper discovery. Id. ¶ 55. In total, Shop-Vac produced more than 22,000 pages

of documents, much of it containing complicated technical material and data. Id.

      Plaintiffs deposed Shop-Vac employees, including corporate representatives

who testified regarding Shop-Vac’s marketing and sales practices, product

engineering specifications, and product testing protocols. Id. ¶ 56. Plaintiffs also

deposed Defendants’ expert, John Loud. Id. ¶ 39. Each of the named Plaintiffs

was deposed, id. ¶¶ 25, 47, 56, as was Plaintiffs’ principal expert on electrical

engineering, Glen Stevick. Id. ¶ 39. As a result of this discovery, the Parties are

fully informed about the strengths and weaknesses of their claims and defenses.

      Although Plaintiffs were prepared to move for class certification in this

Court and were preparing for trial in the parallel New Jersey Action in which

certification had already been granted, the Parties agreed to mediate the matter

before Judge Infante. Id. ¶¶ 40, 57, 60. Trial in the New Jersey Action was

scheduled for the first week of September, but was adjourned until October 19,

2015, to allow the parties to mediate. Id. ¶¶ 43, 52. The Parties provided detailed

mediation statements to Judge Infante, who conducted an all-day mediation on

August 13, 2015. Id. ¶ 60. Although the Parties made progress on the substantive

terms of the Settlement, no agreement was reached. Id.




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      Thereafter, with the continued involvement of Judge Infante, the Parties

continued to negotiate, reaching a settlement in principle on material relief to the

proposed Settlement Class on September 11, 2015. Id. Importantly, there was no

agreement reached on attorneys’ fees, other than a discussion of the parameters of

a contested fee application.    It was only months later that the Parties were

ultimately presented with a mediator’s proposal by Judge Infante to eliminate the

fee dispute, which both sides accepted. Id. ¶ 62. This mediator’s proposal was

made part of the Settlement Agreement on April 1, 2016, id., and which is now

presented to the Court for approval.

      B.    Summary of the Settlement Terms
      The Settlement Agreement provides that Shop-Vac will extend the

manufacturer’s warranty on the motors of the Vacuums for the longer of: (a) 24

months from the date a Vacuum’s current manufacturer’s warranty would expire

by its own terms, or (b) for those whose current manufacturer’s warranty has

expired by its own terms prior to the Effective Date, 24 months after the Effective

Date of the Settlement. See Section IV.A.1 of the Settlement Agreement. This

relief addresses the most important practical result of the Vacuums possessing

lower horsepower ratings than asserted—the potential for premature motor failure

due to greater wear and temperature on brushes and other components. Lax Dec. at




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¶ 58. The extended warranty squarely addresses this issue, and shifts the costs of

any risk from Class Members to the Defendants.

      As part of the proposed Settlement, Shop-Vac has agreed to alter the manner

in which the Vacuums are marketed and labeled to address the horsepower

misrepresentation complained of. Specifically, the Settlement requires that Shop-

Vac refer to “Peak Horsepower” of the Vacuums or their motors in a manner

materially consistent with the following:

      “Peak Horsepower” (PHP) is a term used in the wet-dry vacuum
      industry for consumer comparison purposes. It does not denote the
      operational horsepower of a wet-dry vacuum but rather the
      horsepower output of a motor, including the motor’s inertial
      contribution, achieved in laboratory testing. In actual use, Shop-Vac’s
      motors do not operate at the peak horsepower shown.
See Section IV.A.2 of the Settlement Agreement.

      Shop-Vac further agreed to modify the existing tank gallon legend of the

Vacuums to read: “Tank capacity refers to actual tank volume, and does not reflect

capacity available during operation.”           See Section IV.A.3 of the Settlement

Agreement. Although these marketing changes will have positive external effects

to all Shop-Vac purchasers, they will particularly aid the Settlement Class

Members, who have demonstrated a proclivity to purchase Shop-Vac brand

wet/dry vacuums, and are therefore likely to do so again.




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      C.     Preliminary Approval of Class Settlement
      On April 1, 2016, the Parties jointly sought preliminary approval of the

proposed Settlement, and on May 26, 2016, this Court granted preliminary

approval. ECF No. 164 Memorandum and ECF No. 165 Order. The Court also

approved a form of Notice and a plan for its dissemination. ECF No. 164 at 12.

      D.     The Notice Program
      To date, the notice plan has been implemented as directed by this Court.

Azari Decl.1 ¶ 7. Notice was published in People Magazine, Family Handyman

online, on Facebook, and the Conversant Ad Network. Id. ¶¶ 22-25. The notice

plan also sponsored search listings on Internet search engines, including Google,

Yahoo! and Bing. Id. ¶¶ 26-27. In addition, potential Settlement Class Members

identified in Defendants’ records received direct notice either by postal or

electronic mail. Id. ¶¶ 13-21. Through July 22, 2016, a total of 1,165,149 notices

were directly mailed to potential Settlement Class Members. Id. ¶ 21. As of the

same date, the Settlement website received more than 96,567 unique visitors and

more than 671 calls were placed to the toll-free Settlement telephone number,

representing 1,912 minutes of use. Id. ¶¶ 31-33.

      Although the August 15, 2016 deadlines to request exclusion from the

Settlement Class or to file objections to the Settlement have not arrived, as of July

1
  Declaration of Cameron R. Azari, Esq. on Implementation and Adequacy of
Settlement Notices and Notice Plan is defined as “Azari Decl.”

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22, 2016, only 56 Settlement Class Members have excluded themselves, and there

is just 1 objection. Id. ¶ 34.

III.   THE SETTLEMENT IS FAIR, REASONABLE AND
       ADEQUATE, AND SHOULD BE GRANTED FINAL
       APPROVAL
       A.    The Law Favors Settlements and This Settlement is Entitled
             to a Presumption of Fairness
       Courts favor settlement, particularly in class actions and other complex and

protracted cases. Ehrheart v. Verizon Wireless, 609 F.3d 590, 594-95 (3d Cir.

2010) (“Settlement agreements are to be encouraged because they promote the

amicable resolution of disputes and lighten the increasing load of litigation faced

by the federal courts.”); In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 535

(3d Cir. 2004) (“[T]here is an overriding public interest in settling class action

litigation and it should be encouraged.”).

       The Third Circuit applies “an initial presumption of fairness” if “(1) the

settlement negotiations occurred at arm’s length; (2) there was sufficient

discovery; (3) the proponents of the settlement are experienced in similar litigation;

and (4) only a small fraction of the class objected.” Warfarin, 391 F.3d at 535. As

discussed in Sections III.B.2 (a) and (c), this Settlement is the product of extensive,

arm’s length bargaining conducted by experienced counsel after significant

discovery and trial preparation. In re Linerboard Antitrust Litig., 296 F. Supp. 2d

568, 578 (E.D. Pa. 2003) (“A presumption of correctness is said to attach to a class

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settlement reached in arms’ length negotiations between experienced, capable

counsel after meaningful discovery.”). Further, the Class has tacitly endorsed the

Settlement. See Weiss v. Mercedes-Benz of N. Am., Inc., 899 F. Supp. 1297, 1301

(D.N.J. 1995), aff’d, 66 F.3d 314 (3d Cir. 1995) (“A substantial silent consent

weighs in favor of certification.”). Therefore, the presumption of fairness applies.

      B.      The Girsh Factors Favor Approval of The Settlement
      Final approval of the Settlement is appropriate because the Settlement is fair,

reasonable, and adequate. See Fed. R. Civ. P. 23(e)(2). In Girsh v. Jepson, 521

F.2d 153 (3d Cir. 1975), the Third Circuit articulated nine factors that district

courts must consider when determining the fairness of a proposed settlement:

      (1) the complexity, expense, and likely duration of the litigation; (2)
      the reaction of the class to the settlement; (3) the stage of proceedings
      and the amount of discovery completed; (4) the risks of establishing
      liability; (5) the risks of establishing damages; (6) the risks of
      maintaining the class action through the trial; (7) the ability of the
      defendants to withstand a greater judgment; (8) the range of
      reasonableness of the settlement fund in light of the best possible
      recovery; [and] (9) the range of reasonableness of the settlement fund
      to a possible recovery in light of all the attendant risks of litigation.

Id. at 157 (internal quotation marks and alterations omitted). See also O’Keefe v.

Mercedes-Benz United States, LLC, 214 F.R.D. 266, 294 (E.D. Pa. 2003) (“These

factors are a guide and the absence of one or more does not automatically render

the settlement unfair.”) The Girsh factors strongly favor final approval of this

Settlement.


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             1.    Continued Litigation Would Likely Be Long, Complex and
                   Expensive
      The first Girsh factor contemplates the “probable costs, in both time and

money, of continued litigation.”     Warfarin, 391 F.3d at 535-36. “Where the

complexity, expense, and duration of litigation are significant, the Court will view

this factor as favoring settlement.” Bredbenner v. Liberty Travel, Inc., No. 09-905

(MF), 2011 U.S. Dist. LEXIS 38663, at *33 (D.N.J. Apr. 8, 2011).

      This litigation has been pending for over four years, and involves complex

legal and factual issues.    Continued litigation would be time consuming and

expensive. Lax Decl. ¶ 66. Plaintiffs’ claims for a nationwide class arising under

several state warranty laws and consumer statutes would undoubtedly further

complicate the litigation process. See In re GMC Pick-Up Truck Fuel Tank Prods.

Liab. Litig., 55 F.3d 768, 812 (3d Cir. 1995) (“GM Trucks”) (finding complexity

arising from a “web of state and federal warranty, [ ] and consumer protection

claims”).

      Trial would involve extensive briefing, and presentation of a substantial

evidentiary record. See Warfarin, 391 F.3d at 536 (agreeing with the district court

that the first Girsh factor favors settlement because continued litigation “would

have required additional discovery, extensive pretrial motions . . . and ultimately, a

complicated lengthy trial.”). Post-trial motions and appeal would further delay

resolution and increase costs. See id. (“[I]t was inevitable that post-trial motions

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and appeals would not only prolong the litigation but also reduce the value of any

recovery to the class.”). By contrast, this Settlement provides a reasonably prompt

recovery to the Class. Under all of the circumstances, the first Girsh factor weighs

in favor of approving the Settlement.

            2.     The Reaction of the Class to the Settlement to Date Suggests
                   the Settlement is Fair, Reasonable, and Adequate
      Class notices were provided to Settlement Class Members in accordance

with Rule 23(c)(2)(B) and this Court’s preliminary approval order. There have

only been 56 opt-outs and 1 objection to date. 2 Azari Decl. ¶ 34. Absent further

substantial opt-outs or objections, the reaction of Settlement Class Members favors

final approval of this Settlement. See e.g., Stoetzner v. U.S. Steel Corp., 897 F.2d

115, 118 (3d Cir. 1990) (favorable class reaction where more than ten percent of

class members objected to the proposed settlement); Myers v. Medquist, Inc., No.

05-4608 (JBS), 2009 U.S. Dist. 27908, at *37 (D.N.J. Mar. 31, 2009) (holding,

based on the low number of opt-outs and objections, that it was “justified in

assuming that more than 98% of the Class Members” approved the settlement).

            3.     The Parties Have Completed Sufficient Investigation and
                   Discovery to Responsibly Resolve the Case
      This factor considers “the degree of case development that class counsel had

accomplished prior to settlement” to ascertain if counsel had “an adequate

2
  Plaintiffs will update the Court with final numbers and respond to the substantive
issues raised therein in their reply, due by September 1, 2016.

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appreciation of the merits of the case before negotiating.” Warfarin, 391 F.3d at

537. The extensive discovery here, as well as the certification of the Class and

imminent trial in New Jersey, confirms that counsel were sufficiently apprised of

the facts, and the strengths and weaknesses of their respective cases. Lax Decl. ¶

61. See Boone v. City of Phila., 668 F. Supp. 2d 693, 712 (E.D. Pa. 2009) (citing

Bell Atlantic Corp. v. Bolger, 2 F.3d 1304 (3d Cir. 1993) (“Post-discovery

settlements are more likely to reflect the true value of the claim.”).

      Plaintiffs’ counsel conducted an extensive investigation as to the claims

arising from Defendants’ pattern of overstating the “peak horsepower” and tank

capacity of the Vacuums. Lax Decl. ¶ 4. In this matter and the parallel New

Jersey Action, the Parties engaged in more than three years of discovery related to

the alleged misrepresentations, Plaintiffs’ claims, and Defendants’ defenses. Id. ¶¶

18, 21, 25, 35, 39, 47, 54-57. See Hall v. Best Buy Co., 274 F.R.D. 154, 169-70

(E.D. Pa. 2011) (finding that plaintiffs’ counsel could “reasonably estimate the

strength and value of the case at the time of settlement negotiations” when

settlement   was    reached    after   “significant   discovery”     efforts);   In   re

Philips/Magnavox TV Litig., Civ. No. 09-3072 (CCC), 2012 U.S. Dist. LEXIS

67287, at *30-31 (D.N.J. May 14, 2012) (same). Accordingly, this factor also

weighs in favor of final approval.




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             4.     Plaintiffs Would Face Considerable Risks in Proceeding to
                    Trial
      The fourth through sixth Girsh factors all relate to continued litigation risks

that Plaintiffs would face in establishing liability and damages, and maintaining a

class action through trial. The Court must evaluate “what the potential rewards (or

downside) of litigation might have been had class counsel decided to litigate the

claims rather than settle them, to measure the expected value of litigating the

action rather than settling it at the current time, and the difficulties likely to be

encountered in certification.”      Hall, 274 F.R.D. at 170 (internal quotations

omitted).

      Defendants continue to dispute Plaintiffs’ allegations and deny any liability.

Even if the Court certified a class and Plaintiffs defeated all dispositive motions,

the risks of establishing liability with expert testimony at trial would be significant.

See In re Prudential Ins. Co. of Am. Sales Litig., 962 F. Supp. 450, 539 (D.N.J.

1997) (“[A] jury’s acceptance of expert testimony is far from certain, regardless of

the expert’s credentials. And, divergent expert testimony leads inevitably to a

battle of the experts.”). If Plaintiffs prevailed on liability, there would be risks in

establishing damages on a classwide basis. Defendants would likely argue that

class members derived some benefit from the Vacuums even if they did not receive

the entire value for which they paid, which would also require expert testimony.



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See ECF No. 103 at 13 (arguing that Plaintiffs’ damages are based on a speculative

price inflation theory).

      While reliable and convincing expert testimony can be offered on all issues,

victory would by no means be assured. A jury might find Defendants’ expert more

persuasive, or agree with Plaintiffs’ expert but award no damages. See In re

Cendant Corp. Litig., 264 F.3d 201, 239 (3d Cir. 2001) (“establishing damages at

trial would lead to a ‘battle of experts,’ with each side presenting its figures to the

jury and with no guarantee whom the jury would believe.”). The Settlement, on

the other hand, permits a prompt resolution of this litigation on terms that are

amply fair, reasonable and adequate.

      Although Plaintiffs’ claims are well suited for class treatment, and the

evidentiary record supports class certification, there would be no assurance of

maintaining class certification through trial if this Court certified a litigation class.

See In re NFL Players’ Concussion Injury Litig., 307 F.R.D. 351, 394 (E.D. Pa.

2015) (“NFL Players I”) (“Because class certification is subject to review and

modification at any time during the litigation, the uncertainty of maintaining class

certification favors settlement.”). For example, differences in applicable state laws

could preclude certification of a nationwide class.        See Maloney v. Microsoft

Corp., Civ. No. 09-2407, 2011 U.S. Dist. LEXIS 134841, at *31 (D.N.J. Nov. 21,

2011) (denying nationwide certification, finding lack of predominance because the


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laws of all 50 states would apply to plaintiffs’ Magnuson-Moss Warranty Act

claims). If the Court certified a class, Defendants would likely have challenged it

with a Rule 23(f) petition and subsequently could have moved to decertify the

class. See e.g., In re LifeUSA Holding, Inc., 242 F.3d 136, 146 (3d. Cir. 2001)

(decertifying a nationwide litigation class).

      By settling, Plaintiffs and the Settlement Class avoid these risks, as well as

the delays of a lengthy trial and appellate process. The Settlement provides

Settlement Class Members with benefits that are immediate, certain and

substantial. See Hegab v. Family Dollar Stores, Inc., No. 11-1206 (CCC), 2015

U.S. Dist. LEXIS 28570, at *23 (D.N.J. Mar. 9, 2015) (concluding that a

settlement was fair, reasonable and adequate in light of the substantial risks that

plaintiff faced and the immediate benefits provided by the settlement).

             5.     Defendants’ Ability to Withstand Greater Judgment
      The seventh Girsh factor is “most relevant when the defendant’s professed

inability to pay is used to justify the amount of the settlement.” In re NFL Players

Concussion Injury Litig., 821 F.3d 410, 440 (3d Cir. 2016) (“NFL Players II”).

Defendant Shop-Vac is a privately held business in Williamsport, Pennsylvania.

Shop-Vac would be unable to pay any material amount of cash to each of the tens

of millions of Settlement Class Members. The wet/dry vacuum market is a virtual

duopoly in the United States, and a judgment which might leave it a monopoly


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would not be as helpful to consumers of these devices as the relief provided by the

Settlement. Lax Decl. ¶ 67. While Plaintiff’s Counsel do not assert that the

inability to pay formed the primary driver of the Settlement, this potential issue

provides some measure of support to the Settlement.

      However, even if Defendants could afford to pay more, this would not

militate against approving the Settlement, as “this factor does not require that the

defendant pay the maximum it is able to pay.” See In re Diet Drugs Prods. Liab.

Litig., MDL No. 1203, Civ. No. 99-20593, 2000 U.S. Dist. LEXIS 12275, at *188

(E.D. Pa. Aug. 28, 2000) (citing In re Prudential Ins. Co. of Am. Sales Litig, 148

F.3d 283, 321-22 (3d Cir. 1998)). At worst, this factor is neutral.

             6.    The Settlement Is Within the Range of Reasonableness In
                   Light of the Best Possible Recovery and All Attendant Risks
                   of Litigation
      The last two Girsh factors, often analyzed in combination, evaluate “whether

the decision to settle represents a good value for a relatively weak case or a poor

value of a strong case.” Warfarin, 391 F.3d at 538. This Settlement provides

significant benefits for the Settlement Class, all of whom are receiving an extended

warranty to ensure that they are getting the use of the Vacuums they purchased for a

commercially reasonable period. This relief addresses the most salient practical

result to class members of using a vacuum closer to its motor’s maximum power

rating – the potential for premature failure. Lax Decl. ¶¶ 58, 67. The extended


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warranty provided by the Settlement is designed to address this issue, by shifting

the costs of any such risk from Class Members to the Defendants. Id. ¶ 58.

      The monetary and actuarial value of this warranty is enormous, but capable

of approximating with reference to similar warranty products already sold by

defendant Lowe’s. The retail price of a two-year extended warranty from Lowe’s

ranges in retail cost from $6.97 to $29.98, depending on the price of the product.3

Lax Decl. ¶ 68. Accordingly, a value of the extended manufacturer’s warranty on

the Vacuum motor to Settlement Class Members offered here could be, at least

roughly compared to the retail value of the Lowe’s extended warranty, this aspect

of the Settlement could be said to have a value of no less than $174,250,000.00.

Id. ¶ 70. If it is worth even a small portion of this amount, it would still more than

justify the approval of the Settlement. See In Re LG/Zenith Rear Projection TV

Class Action Litig., No. 06-5609 (JLL), 2009 U.S. Dist. Lexis 13568, at *24-25

(D.N.J. Feb. 18, 2009).

      The warranties are also appropriate relief for the claims of the Settlement

Class Members. According to Plaintiff’s expert, “lower horsepower motors will

tend to fail more quickly and have a shorter service life than higher horsepower

motors at a given level of work. This premature failure stems from the fact that the

3
  While the warranty provided in the Settlement only covers motor failure, that
component represents the most valuable wearable component of the entire
machine.

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lower powered motor must rotate faster, causing greater wear and temperature on

brushes and other components.” Id. ¶ 58. The warranties are thus an excellent

solution to Plaintiffs’ principal allegation that the Vacuums do not have the

ascribed peak horsepower ratings, because the extended warranty will compensate

Settlement Class Members for the potential shorter than expected service life of the

Vacuums and shift any risk and expense of premature failures from consumers to

Defendants. Id. See O’Keefe, 214 F.R.D. at 295 (explaining that the extended

warranty coverage is “the core relief” because it “insulates the class from out of

pocket expenses associated with the alleged FSS defect”); In re Sony Corp. SXRD

Rear Projection TV Mktg., Sales Practices & Prods. Liab. Litig., No. 09-MD-2102

(RPP), 2010 U.S. Dist. LEXIS 87643, at *24 (S.D.N.Y. Aug. 24, 2010) (explaining

a settlement involving extended warranty coverage for defective television sets

offers benefits that “are meaningful and address the problems experienced by class

members”); Klee v. Nissan N. Am., Inc., No. CV 12-08238 AWT (PJWx), 2015

U.S. Dist. LEXIS 88270, at *24 (C.D. Cal. July 7, 2015) (finding extended

warranty settlement “fair” because it was “directed at repairing the alleged harm”).

See also In re Imprelis Herbicide Mktg., 296 F.R.D. 351, 369 (E.D. Pa. 2013)

(granting final approval to a settlement that included warranty coverage for class

members); McLennan v. LG Elecs. USA, Inc., Civ. No. 10-cv-03604 (WJM), 2012

U.S. Dist. LEXIS 27703, at *24 (D.N.J. Mar. 2, 2012) (granting final approval to a


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settlement that included extended warranty coverage to the affected consumer

product).

      Of course, insurance has value even if no loss is ever suffered. Therefore

even if a Settlement Class Member does not claim any repair during the period of

coverage, s/he still derives an actuarial benefit from the extended warranty

coverage. See In re Volkswagen & Audi Warranty Extension Litig., 89 F. Supp. 3d

155, 169 (D. Mass. 2015) (explaining an extended warranty “has value” to a

consumer because “[F]or a price, a consumer can purchase certainty as to what

repairs will cost if they are needed.”). Here, many consumers will be able to avoid

the expense of purchasing a new Vacuum.

      In addition to the warranty relief, Shop-Vac will alter the manner in which

the Vacuums are marketed and labeled, to eliminate the potential for

misrepresentation. See e.g., In re Budeprion XL Mktg. & Sales Litig., MDL No.

2107, 2012 U.S. Dist. LEXIS 91176, at *54-55 (E.D. Pa. July 2, 2012) (granting

final approval of a non-monetary settlement, finding the injunctive relief requiring

label changes is “neither meaningless nor illusory”); In re Sinus Buster Prods.

Consumer Litig., No. 12-CV-2429 (ADS)(AKT), 2014 U.S. Dist. LEXIS 158415,

at *28 (E.D.N.Y. Nov. 10, 2014) (granting final approval of settlement that

included remedial measures to rectify the product advertising at issue); Johnson v.

Triple Leaf Tea, Inc., No. 14-cv-01570-MMC, 2015 U.S. Dist. LEXIS 170800, at


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*12-13 (N.D. Cal. Nov. 16, 2015) (granting final approval to class action

settlement requiring revisions to labeling of affected products, stating “[t]he

Settlement affords meaningful injunctive relief”); Gallucci v. Boiron, Inc., Civ.

No. 11cv2039 JAH(NLS), 2012 U.S. Dist. LEXIS 157039, at *16-17 (S.D. Cal.

Oct. 31, 2012) (granting final approval of class settlement that included

“meaningful injunctive relief” because agreed upon disclaimers were directed at

the alleged harm).

      The Settlement grants relief addressing the alleged deceptive and misleading

practices asserted in this litigation, and remediates their effects upon consumers.

Weighing the benefits of the Settlement against the risks of proceeding to trial, the

Settlement is fair, reasonable, and adequate.

IV.   THE COURT SHOULD CERTIFY THE SETTLEMENT CLASS
      A class action may be maintained if the requirements under Federal Rule of

Civil Procedure 23(a) and at least one of the subsections of Rule 23(b) are met. On

May 26, 2016, the Court preliminarily certified a Settlement Class. See ECF No.

165 ¶ 2. The Court should grant final certification because the Settlement Class

meets the all requirements of Rule 23(a) and Rule 23(b)(3).

      A.     The Settlement Class Satisfies Rule 23(a)
      Rule 23(a) requires that: (1) the class is so numerous that joinder of all

members is impracticable; (2) there are questions of law or fact common to the


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class; (3) the claims or defenses of the representative parties are typical of the

claims of defenses of the class; and (4) the representative parties will fairly and

adequately protect the interests of the class. Fed. R. Civ. P. 23(a); Sullivan v. DB

Invs., Inc., 667 F.3d 273, 296 (3d Cir. 2011) (outlining 23(a) requirements)

Plaintiffs and the proposed Settlement Class meet each of these requirements.

            1.     Numerosity
      Numerosity is satisfied “if the named plaintiff demonstrates that the

potential number of plaintiffs exceeds 40.” Stewart v. Abraham, 275 F.3d 220,

226-27 (3d Cir. 2001). Here, Plaintiffs believe the class consists of more than 25

million purchasers, Lax Decl. ¶ 69, and Defendants’ records identified 1,165,149

potential Settlement Class Members. Azari Decl. ¶ 21. Thus, numerosity is met.

            2.     Commonality
      The second Rule 23(a) prerequisite is satisfied if “the named plaintiffs share

at least one question of fact or law with the grievances of the prospective class.”

Rodriguez v. Nat’l City Bank, 726 F.3d 372, 382 (3d Cir. 2013). Commonality is

present when classwide issues can “generate common answers ‘apt to drive the

resolution of the litigation.’” Sullivan, 667 F.3d at 300 (citing Wal-Mart Stores,

Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011)).

      Settlement Class Members share numerous issues capable of classwide

resolution, including: (1) whether Defendants misrepresented the peak horsepower


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and/or tank capacity of the Vacuums; (2) whether Defendants’ representations

violated applicable consumer protection statutes; (3) whether Defendants breached

an express and/or implied warranty under applicable state laws, and (4) whether

Defendants were unjustly enriched from the sale of the Vacuums. The answers to

any of these questions would meaningfully advance this litigation. Accordingly,

commonality is satisfied.

            3.     Typicality
      Rule 23(a)(3) seeks to ensure the class representatives “will work to benefit

the entire class through the pursuit of their own goals.” Newton v. Merrill Lynch,

Pierce, Fenner & Smith, Inc., 259 F.3d 154, 182-83 (3d Cir. 2001). Typicality

does not require all class members to share the same claims. Warfarin, 391 F.3d at

531-32. Instead, the prerequisite is met if “there is a strong similarity of legal

theories or where the claim arises from the same practice or course of conduct.”

NFL Players II, 821 F.3d at 428 (internal quotes omitted).

      Plaintiffs’ claims are typical of those of other Settlement Class Members.

Plaintiffs and every Settlement Class Member were exposed to identical

misleading “peak horsepower” and tank capacity claims on the machines, on their

packaging, and in marketing materials. See e.g., Rossi v. P&G, No. 11-7238

(JLL), 2013 U.S. Dist. LEXIS 143180, at *6 (D.N.J. Oct. 3, 2013) (finding

typicality satisfied where named plaintiff and class asserted claims based on same


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statements in the advertising and marketing of product at issue). Thus, Plaintiffs

and Settlement Class Members have been injured in the same manner, and

typicality is met.

             4.      Adequacy of Representation
      Rule 23(a)(4) “tests the qualifications of class counsel and the class

representatives.” NFL Players II, 821 F.3d at 428. Adequacy is a two-prong

inquiry: (1) whether the representatives’ interests conflict with the interests of the

class, and (2) whether the plaintiffs’ attorneys are capable of representing the class.

See Newton, 259 F.3d at 185-86 (stating that adequacy of representation requires

determination of both prongs).

      First, Plaintiffs have no interest antagonistic to Settlement Class Members.

Plaintiffs, like each Settlement Class Member, had a strong interest in establishing

the unlawfulness and impact of Defendants’ common course of conduct and

obtaining redress. For four years, Plaintiffs have vigorously protected the interests

of the Settlement Class. They contributed to counsel’s pre-suit investigations,

reviewed and authorized the filing of complaints, responded to expansive

discovery, sat for lengthy depositions, and prepared the New Jersey Action for

trial. Plaintiffs also stayed abreast of settlement negotiations, and reviewed and




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approved the Settlement terms. 4 See e.g., NFL Players I, 307 F.R.D. at 375

(concluding class representatives “ably discharged their duties” by assisting in

preparation of the complaint and staying involved in the settlement process).

      Second, this Court has already found that interim class counsel are qualified,

experienced and able to conduct the litigation. See ECF No. 55 Order at 3-6

(appointing interim class counsel), ECF No. 165 Memorandum at 9 (“the Court is

persuaded that the competence and experience evidenced by Plaintiffs’ interim

counsel in this MDL satisfies Rule 23(a)’s adequacy requirement”). Also, the New

Jersey Superior Court found two of these same firms, and Lite DePalma

Greenberg, LLC, adequate to represent the certified New Jersey class in that

parallel case. The firm resumes that this Court previously received demonstrate

that all of the proposed Class Counsel have vast class action experience.

Accordingly, the adequacy requirement is met.

      B.    The Settlement Class Satisfies Rule 23(b)(3)
      Rule 23(b)(3) examines “whether proposed classes are sufficiently cohesive

to warrant adjudication by representation.” Amchem Prods. v. Windsor, 521 U.S.

591, 623 (1997). The rule authorizes class certification when “questions of law or

fact common to class members predominate over any questions affecting only

individual members,” and class treatment “is superior to other available methods
4
 See generally Declarations of Plaintiffs Andrew Harbut, Alan McMichael, Kris
Reid, David Palomino, and Scott Giannetti.

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for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

Both are met here.

             1.      Common Questions of Law and Fact Predominate
      Predominance only requires “a showing that questions common to the class

predominate, not that those questions will be answered, on the merits, in favor of

the class.” Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 133 S. Ct. 1184, 1191

(2013). Thus, the focus is on “whether the defendant’s conduct was common as to

all of the class members, not on whether each plaintiff has a ‘colorable’ claim.”

Sullivan, 667 F.3d at 299-300. In cases alleging consumer fraud, predominance is

“readily met.” Amchem, 521 U.S. at 625.

      Predominance is satisfied here for several reasons. First, every Settlement

Class Member’s claim is based on the allegation that Defendants’ representations

concerning the Vacuums are false and misleading.         Second, Settlement Class

Members’ claims are susceptible to common proof of Defendants’ allegedly

misleading advertising and marketing of the “peak horsepower” and tank capacity

of the Vacuums. Rossi, 2013 U.S. Dist. LEXIS 143180, at *9-10 (predominance

satisfied where “common legal and factual questions are at the core of the litigation

and are focused on the actions of [defendant], not Plaintiffs.”). Further, whether

the Vacuums can, as a matter of scientific fact, reach their advertised “peak




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horsepower,” is integral to each Settlement Class Member’s case and can also be

shown by generalized proof. Therefore, the predominance requirement is met.

             2.     Class Adjudication is Superior to Other Methods
      Rule 23(b)(3) considers if class treatment is “superior to other available

methods of fairly and efficiently adjudicating the controversy” and provides a non-

exhaustive list of factors for consideration. 5 See Fed. R. Civ. P. 23(b)(3). Courts

are asked to “balance, in terms of fairness and efficiency, the merits of a class

action against those of alternative available methods of adjudication.” In re Cmty.

Bank of N. Va. Mortg. Lending Practices Litig., 795 F.3d 380, 408-09 (3d Cir.

2015). Class treatment is not merely superior, but is the only manner that ensures

fair and efficient adjudication of this action.

      Since each Settlement Class Member’s claim pales in comparison to the

costs of litigation, class treatment allows class members to bring together claims

that would be economically infeasible to litigate separately. See Warfarin, 391

F.3d at 534 (“[I]ndividual consumer class members have little interest in

‘individually controlling the prosecution or defense of separate actions,’ because

each consumer has a very small claim in relation to the cost of prosecuting a


5
  When certifying a settlement-only class, a showing of manageability at trial is not
required. See Amchem, 521 U.S. at 620 (“Confronted with a request for
settlement-only class certification, a district court need not inquire whether the
case, if tried, would pose intractable management problems, for the proposal is that
there be no trial.”) (internal citations omitted)).

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lawsuit” (internal citations omitted)). Indeed, other than this action and the parallel

New Jersey Action, the Parties are unaware of any other pending case concerning

the same subject matter.

      Class treatment in the settlement context is also superior to individual suits

because it facilitates resolution of all Settlement Class Members’ claims and

conserves judicial resources. See Glaberson v. Comcast Corp., No. 03-6604, 2014

U.S. Dist. LEXIS 172040, at *12-13 (E.D. Pa. Dec. 12, 2014) (class certification in

the settlement context “eliminates the likelihood of inconsistent rulings” as well as

“the expense, time and judicial resources needed for continued litigation”). Thus,

this factor weighs in favor of certification.

V.    INTERIM CLASS COUNSEL AND LITE DEPALMA
      GREENBERG, LLC SHOULD BE APPOINTED AS CLASS
      COUNSEL
      This Court appointed Milberg LLP, Lax LLP, and Faruqi & Faruqi LLP as

interim class counsel, and Dilworth Paxson LLP as interim liaison counsel, on

January 17, 2013.      ECF No. 55.        Interim class counsel and Lite DePalma

Greenberg, LLC now seek appointment as Class Counsel,6 and Dilworth Paxson

LLP seeks appointment as Liaison Counsel.           Rule 23(g), which governs the

appointment of class counsel for a certified class, establishes four factors regarding
6
  In the New Jersey Action, the Milberg and Lax firms were appointed as Class
Counsel along with Lite DePalma Greenberg, LLC. Since the Settlement resolves
both the present matter and the New Jersey Action, Plaintiffs request that the Court
appoint Milberg, Lax, Faruqi, and Lite DePalma as Class Counsel here.

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the adequacy of proposed counsel: (1) the work counsel has done in investigating

and identifying the claims in the action; (2) counsel’s experience in handling class

actions, other complex litigation, and the types of claims asserted; (3) counsel’s

knowledge of the applicable law; and (4) the resources counsel will commit to

representing the class, Fed. R. Civ. P. 23(g)(1)(A)(i)-(iv), and allows the Court to

consider any other matter pertinent to counsel’s adequacy as well, Fed. R. Civ. P.

23(g)(1)(B).

      In appointing interim class counsel and liaison counsel, this Court already

found that they meet all of these criteria. See ECF No. 55; Case Management

Order 5, ECF No. 56. The work interim class counsel, interim liaison counsel, and

Lite DePalma have done since that appointment buttresses the Court’s prior

findings and confirms that these firms qualify for appointment as Liaison Counsel

and Class Counsel for the Settlement Class.

VI.   THE REQUESTED ATTORNEYS’ FEE AWARD PROVIDED
      UNDER THE SETTLEMENT AGREEMENT IS FAIR AND
      REASONABLE 7

      A.       Negotiated Fee Agreements are Favored
      The Parties negotiated the attorneys’ fees only after agreement was reached


7
  The Settlement Agreement provides that “Defendants will not oppose or object to
the application by Class Counsel for an award of not more than $4,250,000 in
attorneys’ fees and expenses, as this figure has been agreed to by the Parties as the
result of a Mediator’s Proposal, after extensive negotiation and with the assistance
of Judge Infante (Ret.) as mediator.” Settlement Agreement, Section VIII(B).

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on the substantive terms of the Settlement. Defendants have agreed not oppose an

application of up to $4,250,000 in fees and expenses. Such negotiated fees are

favored. McBean v. City of New York, 233 F.R.D. 377, 386 (S.D.N.Y. 2006)

(involvement of judicial mediator weighs strongly in favor of approval of

negotiated fee). See also Hensley v. Eckerhart, 461 U.S. 424, 437 (1983) ("Ideally,

of course, litigants will settle the amount of a fee.").

      The oft-cited Report of the Third Circuit Task Force, Court Awarded

Attorney Fees, 108 F.R.D. 237, 269 (October 8, 1985) noted that "Whether a

defendant is required by statute or agrees as part of the settlement of a class action

to pay the plaintiffs’ attorneys’ fees, ideally the parties will settle the amount of the

fee between themselves.”

      Here, the fact that the parties were able to avoid a “second major litigation,”

Hensley, 461 U.S at 437, through extensive negotiations, militates in favor of the

award.

      B.      The Fee Request Should Be Evaluated Under the
              Percentage of Recovery Method
      “[T]he court may award reasonable attorney’s fees and nontaxable costs that

are authorized by law or by the parties’ agreement” in a certified class action. Fed.

R. Civ. P. 23(h). The Third Circuit established two methods for awarding

attorneys’ fees: (1) the percentage-of-recovery method and (2) the lodestar method.

See Prudential, 148 F.3d at 333. District courts have discretion to use either

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methodology. In re Rite Aid Corp. Sec. Litig., 396 F.3d 294, 299 (3d Cir. 2005)

(reviewing fee award for abuse of discretion).

       While this case does not involve a traditional common fund, application of

the percentage-of-recovery method is appropriate because (1) the benefits to the

Settlement Class can be valued, (2) the compensation to the Settlement Class and

Plaintiffs’ counsel derives from the same source, and (3) that source has agreed to

pay Plaintiffs’ counsel fees. See O’Brien v. Brain Research Labs, LLC, No. 12-

204, 2012 U.S. Dist. LEXIS 113809, at *68 (D.N.J. Aug. 8, 2012) (applying these

factors in percentage-of-recovery analysis). Further, the percentage-of-recovery

method ties the awarded attorneys’ fees to counsel’s success or failure in

prosecuting the case.      Prudential, 148 F.3d at 333 (explaining the method is

designed to allow courts to award fees “in a manner that rewards counsel for

success and penalizes it for failure”); see also O’Keefe, 214 F.R.D. at 305 (“By

tying the counsel’s fee to the class relief, we ensure that the counsel works for the

benefit of the class.”).

       C.     An Award of 2.4% of the Settlement Class’s Recovery is
              Fair and Reasonable
       Gunter and Prudential identify ten factors to be considered in a percentage-

of-recovery analysis. They are: (1) the size of the fund created and the number of

persons benefitted; (2) the presence or absence of substantial objections by

members of the class to the settlement terms and/or fees requested by counsel; (3)

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the skill and efficiency of the attorneys involved; (4) the complexity and duration

of the litigation; (5) the risk of nonpayment; (6) the amount of time devoted to the

case by plaintiffs' counsel; (7) the awards in similar cases; (8) the value of benefits

attributable to the efforts of class counsel relative to the efforts of other groups,

such as government agencies conducting investigations, (9) the percentage fee that

would have been negotiated had the case been subject to private contingent fee

arrangement at the time counsel was retained, and (10) any innovative terms of

settlement. Gunter v. Ridgewood Energy Corp., 223 F.3d 190, 195 n.1 (3d Cir.

2000) (outlining factors one through seven); Prudential, 148 F.3d at 336-40

(noting factors eight through ten may be relevant).           These factors support

Plaintiffs’ counsel’s fee request.

                1.   The Requested Fees Represent No More Than
                     Approximately 2.4% of the Settlement Class’s Recovery
      “The value of the benefit obtained for the class is an important factor in

determining whether the requested fee is reasonable.” In re Certainteed Fiber

Cement Siding Litig., 303 F.R.D. 199, 221 (E.D. Pa. 2014) (citing Hensley, 461

U.S. at 436).

      Since the Settlement Agreement does not create a class fund, it is

appropriate to utilize an approximation of the total recovery that will be provided

to Settlement Class Members. See Volkswagen, 89 F. Supp. 3d at 169 (accepting

proposed valuation of the extended warranties by reference to the price a class

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member would have paid for such a service absent settlement); LG/Zenith, 2009

U.S. Dist. LEXIS 13568, at *24-25 (value of warranty establishes value of class

action settlement for awarding attorneys’ fees). More than 25,000,000 Vacuums

were sold during the class period. Lax Decl. ¶ 69. The retail price of a comparable

aftermarket extended 2-year warranty sold by Defendant Lowe’s is between $6.97

and $29.97, depending on the cost of the warranted appliance. Id. ¶ 68. While the

Lowe’s warranty and the motor warranty provided under the Settlement are not

identical, the Lowe’s warranty provides a valuation benchmark which allows the

Court to assess the value of the relief and whether it provides support for the

requested fee. When multiplied by the sales volume, the aggregate value to the

Settlement Class would be no less than $174,250,000.00 when benchmarked

against the Lowe’s warranty, and likely substantially more. Id. ¶ 70. Therefore,

Plaintiffs’ counsel fee request can be said to be no more than 2.4% of the value of

the Settlement if the lowest retail value of the Lowe’s warranty is used, which is

modest by comparison to percentage fees approved by courts in this Circuit.

Indeed, even if the Court were to determine that the warranty provided under the

settlement was worth only half (or even less) of the Lowe’s warranty, the fee

would still be amply supported. See LG/Zenith, 2009 U.S. Dist. LEXIS 13568, at

*24-25 (even if value of warranties could be “overestimated . . . by a factor of




                                        32
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three, the fee is reasonable as a percentage of the total award and is hereby

approved.”).8

             2.     Analysis of the Second Factor is Premature Because the
                    Deadline for Objections Has Not Yet Passed
      The Notice advised Settlement Class Members that Plaintiffs’ counsel would

apply for the fee award described herein and that Settlement Class Members could

object to that. To date, there has been 1 objection to the fee request. Azari Decl. ¶

34.

             3.     Plaintiffs’ Counsel are Skilled and Efficient Litigators
      Plaintiffs’ counsel achieved a positive result in this case while facing well-

resourced and experienced defense counsel. See e.g., In re Pet Food Prods. Liab.

Litig., MDL No. 1850, Civ. No. 07-2867 (NLH), 2008 U.S. Dist. LEXIS 94603, at

*108 (D.N.J. Nov. 2008) (stating the “highly skilled defense counsel” opposing

plaintiffs’ efforts weighs in favor of finding plaintiffs’ counsel skillful and efficient

in reaching the settlement), aff’d in part and vacated in part on other grounds, 629

F.3d 333 (3d Cir. 2010).       Plaintiffs’ counsel defeated Defendants’ attempt to

dismiss the Second Amended Complaint here. Lax Decl. ¶ 10. Plaintiffs’ counsel

also won class certification in the parallel state case and was preparing the case for

trial at the time of the Settlement. Id. ¶¶ 38, 40, 52. The favorable result achieved


8
  This does not even take into account the value of the marketing changes
undertaken by Defendants as part of the Settlement.

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is a function of the high quality of counsel’s work, which supports the requested

fee award.

             4.    This Litigation was Lengthy and Complicated
      Counsel have been working tenaciously on this litigation since its beginning

in 2011, and the litigation involved complex legal and factual issues requiring

coordination with engineering experts. Not only did Plaintiffs’ Counsel prevail

and secure a settlement of this matter, but it is very likely that without Plaintiffs’

Counsel’s investigation and analysis this case would never have even been filed.

      It cannot be gainsaid that this case was fought zealously by both sides, with

Plaintiffs’ Counsel facing well-funded Defendants, represented by a nationally

known litigation team at a leading international law firm. The Parties completed

merits and expert discovery in the MDL action, and had fully litigated class

certification and dispositive motions, and were preparing for the imminent trial of

parallel state action. Moreover, Settlement negotiations were protracted and

complicated, as described above.        This factor strongly supports Plaintiffs’

Counsel’s fee application.

             5.    Plaintiffs’ Counsel Faced a Substantial Risk of Nonpayment
      This factor recognizes the risk of non-payment in cases prosecuted on a

contingency basis. See e.g., In re Flonase Antitrust Litig., 291 F.R.D. 93, 104

(E.D. Pa. 2013) (“[A]s a contingent fee case, counsel faced a risk of nonpayment in


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the event of an unsuccessful trial. Throughout this lengthy litigation, class counsel

have not received any payment. This factor supports approval of the requested

fee”). As discussed above, this case presented a substantial risk of non-payment

for Plaintiffs’ counsel.

             6.     Plaintiffs’ Counsel Devoted 8,043.35 Hours to Prosecuting
                    This Action
      Since this litigation began in February 2012, Plaintiffs’ counsel have

devoted 8,043.35 hours to investigating, litigating and resolving this action, a huge

effort. Lax Decl. ¶ 72-3.9 Thus, this factor favors the fee request.

             7.     Awards in Similar Cases Demonstrate that 2.4% is
                    Reasonable
      In Third Circuit common fund cases, “fee awards have ranged from nineteen

percent to forty-five percent of the settlement fund.” GM Trucks, 55 F.3d at 822.

Even taking the low end of the approximate value of the Settlement, an award of

2.4% of the recovery falls well below the acceptable range of percentage for

consumer class actions with non-monetary recovery. See e.g., LG/Zenith, 2009

U.S. Dist. LEXIS 13568, at *25 (approving fee request for 5.7% of warranty

settlement); Barel v. Bank of Am., 255 F.R.D. 393, 404 (E.D. Pa. 2009) (finding

fee request of 23% of settlement value of four months of credit monitoring

9
 See also accompanying attorney declarations of James J. Rodgers, Adam R.
Gonnelli, Bruce D. Greenberg, Sanford P. Dumain, Robert I. Lax, Jon Herskowitz,
William J. Pinilis, Michael R. Reese, and Bonner C. Walsh.


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“reasonable in the context of class action litigation”); Chakejian v. Equifax Info.

Servs., 275 F.R.D. 201, 219 (E.D. Pa. 2011) (approving fee request representing

8.3% to 11% of class recovery of eighteen months of credit monitoring); Martina

v. L.A. Fitness Int’l, Inc., Civ. No. 12-cv-2063 (WHW), 2013 U.S. Dist. LEXIS

145285, at *23-25 (D.N.J. Oct. 8, 2013) (approving fee request for 5.2% of a non-

cash settlement valued at $3.8 million).          Accordingly, this factor supports

Plaintiffs’ counsel’s request.

             8.     Plaintiffs’ Counsel Prosecuted the Litigation Without Aid
                    from Government or Other Public Agencies
      This factor contemplates whether Plaintiffs’ counsel benefited from “the

efforts of other groups, such as government agencies conducting investigations.”

In re AT&T Corp. Sec. Litig., 455 F.3d 160, 165 (3d Cir. 2006). Plaintiffs’ counsel

was not aided by any government agencies, nor by media exposés. The entire

value of the benefits achieved here resulted from the efforts of counsel.

Accordingly this factor favors the fee request.

             9.     The Requested Fee is Less Than the Percentage Fee that
                    Would Have Been Negotiated in a Private Contingent Fee
                    Arrangement
      This factor considers if the requested fee is consistent with a privately

negotiated contingent fee in the marketplace. In re Linerboard Antitrust Litig.,

MDL No. 1261, 2004 U.S. Dist. LEXIS 10532, at *15 (E.D. Pa. Jun. 2, 2004).

“Attorneys regularly contract for contingent fees between 30% and 40% with their

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clients in non-class, commercial litigation.” In re Remeron Direct Purchaser

Antitrust Litig., Civ. No. 03-0085 (FSH), 2005 U.S. Dist. LEXIS 27013, at *46

(D.N.J. Nov. 9, 2005); see also In re Ikon Office Solutions, Inc. Sec. Litig., 194

F.R.D. 166, 194 (E.D. Pa. 2000) (“[I]n private contingency fee cases . . . plaintiffs’

counsel routinely negotiate agreements providing for between thirty and forty

percent of any recovery.”). Accordingly, the fee request of 2.4% of the Settlement

is reasonable.

                10.   Absence of Innovative Terms Does Not Detract from Fee
                      Request
      Where, as here, a settlement features no innovative terms, this factor

“neither weighs in favor nor detracts from a decision to award attorneys’ fees.” In

re Merck & Co Vytorin ERISA Litig., No. 08-CV-285 (DMC), 2010 U.S. Dist.

LEXIS 12344, at *42 (D.N.J. Feb. 9, 2010).

      In sum, nine of the ten factors support Plaintiffs’ counsel’s request for a fee

award in the amount of 2.4% of the Settlement. None of the factors counsel against

that request.

      D.        A Lodestar Cross-check Confirms That The Requested Fee
                is Reasonable
      The Third Circuit recommends that district courts perform a “cross check”

of the initial fee calculation. Rite Aid, 396 F.3d at 300 (“[I]t is sensible for a court

to use a second method of fee approval to cross-check its initial fee calculation.”).


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The cross-check, however, is not designed to be a “full-blown lodestar inquiry.”

Id. at 306 n.16; LG/Zenith, 2009 U.S. Dist. LEXIS 13568, at *24-25 (even if value

of warranties could be “overestimated . . . by a factor of three, the fee is reasonable

as a percentage of the total award and is hereby approved.”). Although it is

common for parties to negotiate multiples of Plaintiffs’ Counsel’s lodestars—

which are commonly approved—here Plaintiffs’ Counsel seek a negotiated fee

which represents a substantial discount to their lodestar.

      To calculate lodestar, counsel’s reasonable hours expended on the litigation

are multiplied by counsel’s reasonable rates. McCutcheon v. American’s Servicing

Co., 560 F.3d 143, 150 (3d Cir. 2009). Courts may enhance the lodestar amount

by a risk premium factor (or multiplier).        See AT&T, 455 F.3d at 164 n.4

(observing that “the multiplier is a device that attempts to account for the

contingent nature of risk involved in a particular case and the quality of the

attorneys’ work.”); Prudential, 148 F.3d at 340 (stating judicial approval of the

multiplier is “discretionary and not susceptible to objective calculation”).

      Plaintiffs’ counsel’s total lodestar is $5,091,251.25. See Lax Decl. ¶ 73.

Plaintiffs’ counsel also incurred unreimbursed expenses of $390,277.44.             Id.

Plaintiffs’ Counsel’s fee application therefore represents a substantial discount of

0.75 of their lodestar. The requested fee and expense award, negotiated with the




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assistance of Judge Infante only after all material terms of the Settlement were

agreed to, is undeniably reasonable.

             1.    Plaintiffs’ Counsel’s Hourly Rates are Reasonable
      Under Third Circuit jurisprudence, courts look to the forum of the litigation

to determine the prevailing rate except (1) “when the need for the special expertise

of counsel from a distant district is shown,” or (2) “when local counsel are

unwilling to handle the case.” Interfaith Cmty. Org. v. Honeywell Int’l, Inc., 426

F.3d 694, 705 (3d Cir. 2005) (internal quotes omitted). Where counsel is excepted

from the forum rate, the location for a prevailing market rate is the forum in which

the attorneys are located. Id.

      Plaintiffs’ counsel, without whom this matter would likely never have been

brought in the first instance, should be excepted from the forum rate rule. This

consolidated action consists of numerous multidistrict cases centralized by the

Judicial Panel on Multidistrict Litigation (the “Panel”).       Lax Decl. ¶¶ 5-6.

Plaintiffs opposed Defendants’ motion for centralization in this District and instead

sought centralization in the District of New Jersey, where three of the related cases

were pending, including the first-filed action. Id. ¶ 6. However, the Panel ordered

centralization in this District, where Shop-Vac’s headquarters are located and two

of the six actions were pending. ECF No. 13, Transfer Order at 2. This Court

appointed Plaintiffs’ counsel as Interim Class Counsel over counsel for the


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plaintiffs who filed both actions in this District. ECF Nos. 55, 56. Accordingly,

Plaintiffs did not choose this forum and should not have their customary rates

reduced because of the transfer. 10

      As set forth in the attorney declarations, Plaintiffs’ counsel’s customary rates

have been approved by numerous federal courts in this Circuit and elsewhere. For

example, in In re Schering-Plough Corp., No. 08-397 (DMC) (JAD), 2013 U.S.

Dist. LEXIS 147981, at *97-98 n.27 (D.N.J. Aug. 27, 2013), the court concluded

that hourly rates of $775, $875, and $975 for partners practicing in New York were

commensurate with market rates.

             2.     The Number of Hours Expended is Reasonable
      “Time expended is considered ‘reasonable’ if the work performed was

‘useful and of a type ordinarily necessary to secure the final result obtained from

the litigation.’” Cityside Archives, Ltd. v. New York City Health & Hosps. Corp.,

37 F. Supp. 2d 652, 658 (D.N.J. 1999). The work Plaintiffs’ counsel did was

certainly reasonable and necessary. Plaintiffs’ counsel: (1) investigated and filed

the actions that were consolidated; (2) retained and worked extensively with

experts; (3) opposed two motions to dismiss; (4) served extensive discovery and

reviewed Defendants’ productions; (5) crafted a settlement after extensive arm’s-

length negotiations, including mediation before Judge Infante; and (6) won
10
  It should be noted that Defendants have been represented by nationally known
counsel of a leading international law firm, and are based in Los Angeles.

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preliminary settlement approval.       The parallel New Jersey Action included

opposing two motions for summary judgment as to all claims, completing fact and

expert discovery, and successfully certifying a New Jersey class.

      The number of hours worked by each of Plaintiffs’ counsel is set forth in

detail in the accompanying declarations. Counsel’s responsibilities, however, are

not finished. Counsel remain available to answer inquiries from Settlement Class

Members, oversee settlement administration, and work with Defendants’ counsel

to remedy any issue that may arise, for which Plaintiffs’ counsel will not receive

any additional payment. Lax Decl. ¶ 75. See Varacallo v. Mass. Mut. Life Ins.

Co., 226 F.R.D. 207, 253 (D.N.J. 2005) (finding that fee award would be the sole

compensation for counsel “despite the continuing responsibilities” that counsel

would have); Remeron, 2005 U.S. Dist. LEXIS 27013, at *42 (“Class Counsel will

likely incur hundreds of additional hours in connection with administering the

settlement, without prospect for further fees.”).

             3.     The Negative Multiplier of 0.75 Militates in Favor of the Fee
                    Request
      The Settlement Agreement provides for an application of no more than

$4.25 million in attorneys’ fees, expenses, and service awards to named Plaintiffs.

After reimbursement for $390,277.44 in litigation costs and expenses, see Lax

Decl. ¶ 73, and $25,000 in service awards, the remainder for attorneys’ fees is

$3,834,722.56. Therefore, the requested fee award reflects a negative multiplier –

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in other words, a discount – of 0.75, a figure well below the accepted range in this

Circuit. See In re Cendant Corp. PRIDES Litig., 243 F.3d 733, 742 (3d Cir. 2001)

(labeling a multiplier of 3 as the “appropriate ceiling for a fee award”); McLennan

v LG Elecs. USA, Inc., Civ. No. 10-cv-03604 (WJM), 2012 U.S. Dist. LEXIS

27366, at *27 (D.N.J. Feb. 29, 2012) (approving a multiplier of 2.93 in a consumer

class action); Boone, 668 F. Supp. 2d at 714 (approving a multiplier of 2.3); AT&T,

455 F.3d at 173 (affirming an award with a cross-check multiplier of 1.28 where

there was “significant time and effort devoted to the case by class counsel”).

VII. COUNSEL’S EXPENSES ARE REASONABLE AND WERE
     NECESSARILY INCURRED TO ACHIEVE THE BENEFIT
     OBTAINED ON BEHALF OF THE CLASS
      Class counsel may seek reimbursement of “adequately documented”

expenses that are “reasonably and appropriately incurred in the prosecution of the

case.” In re Safety Components, Inc. Sec. Litig., 166 F. Supp. 2d 72, 108 (D.N.J.

2001). Any expense reimbursement awarded here will be paid from the total $4.25

million fee and expense request. These expenses, totaling $390,277.44, Lax Decl.

¶ 73, are summarized in exhibits to each of the attorney declarations.

      All of the expenses, including court fees, legal research charges, deposition

costs, expert fees, mediation costs, and travel costs, were necessary to the litigation

and are recoverable. See e.g., Bair v. Purcell, No. 04-cv-1357, 2010 U.S. Dist.

LEXIS 84056, at *24-25 (M.D. Pa. Aug. 17, 2010) (noting that Pennsylvania


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courts have awarded expenses for “postage, telephone, expert fees, travel,

deposition transcripts, shipping, parking, lodging and food”); Philips/Magnavox,

2012 U.S. Dist. LEXIS 67287, at *55-56 (approving reimbursement for “court

fees, consultations with expert witnesses, computer research, long distance

telephone calls, photocopies, postage, courier service, and travel expenses”).

       Much of the expenses are attributable to expert witness costs, all of which

were essential in supporting Plaintiffs’ allegations. See e.g., McDonough v. Toys

“R” Us, Inc., 80 F. Supp. 3d 626, 658 (E.D. Pa. 2015) (reasoning that high expert

witness costs are expected due to the “economic complexity” of the case); In re

Flonase Antitrust Litig., 951 F. Supp. 2d 739, 751 (E.D. Pa. 2013) (finding request

of approximately $2 million for expenses “reasonable and proper” where two-

thirds of the expenses reflected fees paid to experts, “all of whom were integral to

the Plaintiffs’ prosecution of the case.”).

VIII. REQUESTED SERVICE AWARDS ARE WARRANTED FOR
      NAMED PLAINTIFFS
      Plaintiffs’ counsel request that the Court award $5,000 to each named

Plaintiff for the time and effort expended in representing the Class. Service awards

are common in class actions, to “compensate named plaintiffs for the ‘services they

provided and the risks they incurred during the course of class action litigation.’”

Bredbenner, 2011 U.S. Dist. LEXIS 38663, at *22. A service award need not be

subject to “intensive scrutiny” where, as here, the awards .will be paid entirely

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from the payment allocated for attorneys’ fees. See In re Cendant Corp., 232 F.

Supp. 2d 327, 344 (D.N.J. 2002).

      The efforts of each representative Plaintiff on behalf of the Class underscore

the propriety of the requested service awards.11 As stated above in connection with

adequacy, Plaintiffs reviewed and approved pleadings, and responded to

interrogatories and document requests. Each Plaintiff was deposed for a full day.

Plaintiffs also remained involved at the Settlement stage. Plaintiffs’ efforts were

instrumental in obtaining the Settlement and justify the service awards requested.

      The service awards do not reduce the recovery of Settlement Class Members

and are not opposed by Defendants. The requested amount also falls within the

range of service awards approved in this Circuit. See e.g., Linerboard, 2004 U.S.

Dist. LEXIS 10532 at *55 (approving incentive fees of $25,000 for each class

representative); In re Residential Doors Antitrust Litig., MDL No. 1036, No. 96-

2125, 1998 U.S. Dist. LEXIS 4292, at *32 (E.D. Pa. Apr. 2, 1998) (approving

$10,000 award to each representative); Glaberson v. Comcast Corp., No. 03-6604,

2015 U.S. Dist. LEXIS 127370, at *56 (E.D. Pa. Sept. 22, 2015) (same); Calarco

v. Healthcare Servs. Grp., Inc., No. 13-CV-688, 2015 U.S. Dist. LEXIS 46950, at

*6 (M.D. Pa. Apr. 7, 2015) (approving award of $7,500); Hall, 274 F.R.D. at 173-

174 (approving awards of $5,000 per named plaintiff); Johnson v. Cmty. Bank,
11
  See declarations of Plaintiffs Andrew Harbut, Alan McMichael, Kris Reid,
David Palomino, and Scott Giannetti.

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N.A., No. 12-CV-01405, 2013 U.S. Dist. LEXIS 167319, at *15-16 (M.D. Pa Nov.

25, 2013) (same); In re CertainTeed Corp. Roofing Shingle Prods. Liab. Litig., 269

F.R.D. 468, 476 (E.D. Pa. 2010) (same).

IX.   CONCLUSION
      For the foregoing reasons, Plaintiffs respectfully request that the Court: (1)

grant final approval of the Settlement; (2) certify the Settlement Class for purposes

of settlement only; (3) appoint Plaintiffs Andrew Harbut, Alan McMichael, Kris

Reid, David Palomino, and Scott Giannetti as representatives of the Settlement

Class, Dilworth Paxson as Liaison Counsel, and Faruqi & Faruqi, LLP, Lax LLP,

Lite DePalma Greenberg, LLC, and Milberg LLP as Class Counsel; (4) enter the

Final Approval Order; and (5) award attorneys’ fees, costs and service awards in

the sum of $4,250,000.




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Dated: July 25, 2016              Respectfully Submitted,

                                  DILWORTH PAXSON LLP

                                  By: /s/ James J. Rodgers
                                         James J. Rodgers
                                         jrodgers@dilworthlaw.com
                                  Penn National Insurance Plaza
                                  2 North 2nd Street
                                  Suite 1101
                                  Harrisburg, PA 17101
                                  Telephone: (717) 236-4812
                                  Facsimile: (717) 236-7811
                                  Interim Liaison Counsel


                                  FARUQI & FARUQI LLP

                                  By: /s/ Adam R. Gonnelli
                                        Adam R. Gonnelli
                                        agonnelli@faruqilaw.com
                                  685 Third Avenue, 26th Floor
                                  New York, NY 10017
                                  Telephone: (212) 983-9330
                                  Facsimile: (212) 983-9331

                                  Interim Class Counsel




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Case 4:12-md-02380-YK Document 173 Filed 07/26/16 Page 57 of 61



                            LAX LLP

                            By: /s/ Robert I. Lax
                                  Robert I. Lax
                                  rlax@lax-law.com
                            380 Lexington Avenue, 31st Floor
                            New York, NY 10168
                            Telephone: (212) 818-9150
                            Facsimile: (212) 208-4309

                            Interim Class Counsel


                            MILBERG LLP

                            By: /s/ Sanford P. Dumain
                                  Sanford P. Dumain
                                  sdumain@milberg.com
                                  Andrei Rado
                                  arado@milberg.com
                                  Jennifer Czeisler
                                  jczeisler@milberg.com
                            One Penn Plaza
                            New York, NY 10119-0165
                            Telephone: (212) 594-5300
                            Facsimile: (212) 868-1229
                            Interim Class Counsel




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Case 4:12-md-02380-YK Document 173 Filed 07/26/16 Page 58 of 61



                            LITE DePALMA GREENBERG LLC

                            By: /s/ Bruce D. Greenberg
                                  Bruce D. Greenberg
                                  bgreenberg@litedepalma.com
                            570 Broad Street, 12th Floor
                            Newark, NJ 07102
                            Telephone: (973) 623-3000
                            Facsimile: (973) 623-0211

                            Interim Class Counsel



                            BARON & HERSKOWITZ
                            Jon Herskowitz
                            jon@bhfloridalaw.com
                            9100 South Dadeland Boulevard
                            One Datran Center, Suite 1704
                            Miami, FL 33156
                            Telephone: (305) 670-0101
                            Facsimile: (305) 670-2393

                            Executive Committee Member

                            PINILISHALPERN LLP
                            William J. Pinilis
                            wpinilis@consumerfraudlawyer.com
                            160 Morris Street
                            Morristown, NJ 07962
                            Telephone: (973) 401-1111
                            Facsimile: (973) 401-1114

                            Executive Committee Member




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                            REESE LLP
                            Michael R. Reese
                            mreese@reesellp.com
                            100 West 93rd Street, 16th Floor
                            New York, NY 10025
                            Telephone: (212) 643-0500
                            Facsimile: (212) 253-4272

                            Executive Committee Member

                            WALSH PLLC
                            Bonner C. Walsh
                            bonner@walshpllc.com
                            3100 SCR 406
                            PO BOX 1343
                            Sonora, TX 76950
                            Telephone: (903) 200-6069
                            Facsimile: (866) 503-8206

                            Executive Committee Member




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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.8(b)

      Pursuant to Local Rule 7.8(b)(2), and the Court’s July 20, 2016 Order (ECF

No. 171), it is hereby certified that Plaintiffs’ Memorandum of Law in Support of

Final Approval of Class Settlement and Plaintiffs’ Application for Attorneys’ Fees

and Expenses, and Service Awards to Class Representatives contains less than

10,000 words (exclusive of the tables of contents and citations, and this certificate),

according to Microsoft© Word 2010 word processing system used to prepare it,

and that the Memorandum of Law, therefore, complies with the Court’s July 20,

2016 Order.

                                        By: /s/ Adam R. Gonnelli
                                                Adam R. Gonnelli




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                          CERTIFICATE OF SERVICE

      The undersigned certifies that, on July 25, 2016, he caused this document to

be electronically filed with the clerk of the Court using the CM/ECF system, which

will send notification of filing to counsel of record for each party.


Dated: July 25, 2016

                                        By: /s/ Adam R. Gonnelli
                                                Adam R. Gonnelli




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